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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       RAEF LAWSON,                                     Case No. 15-cv-05128-JSC
                                                         Plaintiff,
                                   8
                                                                                            ORDER RE: DEFENDANTS’ OFFER
                                                   v.                                       OF PROOF
                                   9

                                  10       GRUBHUB, INC., et al.,                           Re: Dkt. No. 261
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13            Following a bench trial, the Court entered judgment for Defendants on Plaintiff’s claims

                                  14   for minimum wage, overtime, and expense reimbursement. (Dkt. Nos. 221, 222.)1 On appeal, the

                                  15   Ninth Circuit vacated the judgment in light of intervening developments in California law and

                                  16   remanded to this Court to apply the “ABC” test to Plaintiff’s minimum wage and overtime claims,

                                  17   and to determine whether the ABC test applies to Plaintiff’s expense reimbursement claim.

                                  18   Lawson v. Grubhub, Inc., 13 F.4th 908, 916–17 (9th Cir. 2021).

                                  19            Now before the Court is Defendants’ offer of proof and request to reopen discovery so they

                                  20   can put on additional evidence beyond the trial record. (Dkt. No. 261.) Having heard argument

                                  21   on April 14, 2022, the Court sets the following schedule:

                                  22        •   Plaintiff’s motion for summary judgment, (Dkt. No. 253), was denied without prejudice,

                                  23            (Dkt. No. 260). The Court will construe the relevant portions as a motion for partial

                                  24            summary judgment on the legal question of whether the ABC test applies to Plaintiff’s

                                  25            expense reimbursement claim. See Lawson, 13 F.4th at 917.

                                  26        •   On or before May 12, 2022, Defendants shall file an opposition to partial summary

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                                        Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                  28
                                       ECF-generated page numbers at the top of the documents.
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                                   1          judgment not to exceed 15 pages, limited to the legal question of whether the ABC test

                                   2          applies to Plaintiff’s expense reimbursement claim.

                                   3      •   On or before May 26, 2022, Plaintiff shall file a reply not to exceed 10 pages.

                                   4      •   On or before June 15, 2022, Defendants shall submit their evidence supplementing the trial

                                   5          record, including declarations, exhibits, and any stipulations. Defendants’ supplemental

                                   6          evidence should address Prong B, see Dynamex Operations W. v. Superior Court, 416 P.3d

                                   7          1, 35 (Cal. 2018), and criteria (2), (8), and (10) only of the business-to-business exemption,

                                   8          see Cal. Lab. Code § 2776(a). It is limited to expert reports/testimony and other discovery

                                   9          already in Defendants’ possession. The Court does not give Defendants permission to re-

                                  10          open the taking of discovery from Plaintiff or third parties.

                                  11      •   On July 7, 2022 at 9:00 a.m., by Zoom videoconference, the Court will hear argument on

                                  12          the motion for partial summary judgment and hold a case management conference. The
Northern District of California
 United States District Court




                                  13          parties shall be prepared to discuss the implications of the Supreme Court’s anticipated

                                  14          ruling in Viking River Cruises, Inc. v. Moriana, 142 S. Ct. 734 (2021).

                                  15          As discussed at the hearing, the Court intends to consider the evidence in phases. If

                                  16   Defendants meet their burden to establish prong B, further proceedings may consider prongs A

                                  17   and C. If Defendants meet their burden to establish criteria (2), (8), and (10) of the business-to-

                                  18   business exemption, further proceedings will consider the other criteria.

                                  19          IT IS SO ORDERED.

                                  20   Dated: April 14, 2022

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                                                                                                     JACQUELINE SCOTT CORLEY
                                  23                                                                 United States District Judge
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